              Case 2:11-cr-00504-WBS Document 62 Filed 06/22/12 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     CYNTHIA CORN
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-504 WBS
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     JEWEL L. HINKLES, et al.,                       )       Date: August 20, 2012
                                                     )       Time: 9:30 a.m.
13
                                                     )       Judge: Honorable William B. Shubb
            Defendants.                              )
14
                                                     )
                                                     )
15
                                                     )
16

17          IT IS HEREBY stipulated between the United States of America through its undersigned

18   counsel, Steven Lapham, Assistant United States Attorney, together with counsel for defendant

19   Cynthia Corn, John R. Manning, Esq., counsel for defendant Jewel Hinkles, Jerome Kaplan,

20   Esq., counsel for defendant Bernadette Guidry, Michael L. Chastaine, Esq., counsel for

21   defendant Jesse Wheeler, Thomas A. Johnson, Esq., and counsel for defendant Brent Medearis,

22   Kirk McAllister, Esq., that the status conference presently set for June 25, 2012 be continued to

23   August 20, 2012, at 9:30 a.m., thus vacating the presently set status conference.

24          Defense counsel requires additional time to review the voluminous discovery and

25   perform investigation. Therefore, counsel for the parties stipulate and agree that the interests of

26   justice served by granting this continuance outweigh the best interests of the defendants and the

27   public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of counsel/ reasonable time for

28




                                                         1
               Case 2:11-cr-00504-WBS Document 62 Filed 06/22/12 Page 2 of 3



 1   effective preparation) and Local Code T4, and agree to exclude time from the date of the filing of
 2   the order until the date of the status conference, August 20, 2012.
 3   IT IS SO STIPULATED.
 4
     Dated: June 20, 2012                                            /s/ John R. Manning
 5                                                                  JOHN R. MANNING
                                                                    Attorney for Defendant
 6                                                                  Cynthia Corn
 7
     Dated: June 20, 2012                                            /s/ Jerome Kaplan
 8                                                                  JEROME KAPLAN
                                                                    Attorney for Defendant
 9                                                                  Jewel Hinkles
10
     Dated: June 20, 2012                                           /s/ Michael L. Chastaine
11                                                                  MICHAEL L. CHASTAINE
                                                                    Attorney for Defendant
12                                                                  Bernadette Guidry
13
     Dated: June 20, 2012                                            /s/ Thomas A. Johnson
14                                                                  THOMAS A. JOHNSON
                                                                    Attorney for Defendant
15
                                                                    Jesse Wheeler
16
     Dated: June 20, 2012                                           /s/ Kirk McAllister
17                                                                  KIRK MCALLISTER
                                                                    Attorney for Defendant
18
                                                                    Brent Medearis
19

20   Dated: June 21, 2012                                           Benjamin B. Wagner
                                                                    United States Attorney
21

22                                                          by:     /s/ Steven Lapham
                                                                    STEVEN LAPHAM
23                                                                  Assistant U.S. Attorney
24
                                                   ORDER
25
            The Court, having received, read, and considered the stipulation of the parties, and good
26
     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
27
     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
28
     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within


                                                       2
              Case 2:11-cr-00504-WBS Document 62 Filed 06/22/12 Page 3 of 3


     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the
 1
     failure to grant a continuance in this case would deny defense counsel to this stipulation
 2
     reasonable time necessary for effective preparation, taking into account the exercise of due
 3
     diligence. The Court finds that the ends of justice to be served by granting the requested
 4
     continuance outweigh the best interests of the public and the defendants in a speedy trial.
 5
            The Court orders that the time from the date of the parties' stipulation, June 21, 2012, to
 6   and including August 20, 2012, shall be excluded from computation of time within which the
 7   trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
 8   3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
 9   prepare). It is further ordered that the June 25, 2012, status conference shall be continued until

10
     August 20, 2012, at 9:30 a.m.

11

12   IT IS SO ORDERED.
13   Dated: June 22, 2012
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                      3
